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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

    UNITED STATES OF AMERICA,                    )
                                                 )
           Plaintiff,                            )       Civil Action No. 6: 18-139-DCR
                                                 )
    V.                                           )
                                                 )
    KIMBERLY STEPHENS, et al.,                   )                   ORDER
                                                 )
           Defendants.                           )

                                     ***   ***   ***   ***

         This matter is pending for consideration of Plaintiff United States’ motion for the

appointment of a Warning Order Attorney for Defendants Kimberly Stephens and Unknown

Spouse of Kimberly Stephens. [Record No. 6] Having considered the motion and being

otherwise sufficiently advised, it is hereby

         ORDERED as follows:

         (1)    The United States’ motion [Record No. 6] is GRANTED.

         (2)    Pursuant to Rules 4(e)(1) and 4(g) of the Federal Rules of Civil Procedure, the

following practicing attorneys in good standing with this Court are hereby appointed Warning

Order Attorneys:

         For Kimberly Stephens:                            Christy J. Love
                                                           219 London Shopping Ctr. Road
                                                           P.O. Box 3105
                                                           London, Kentucky 40741

         For Unknown Spouse of Kimberly Stephens:          Hailey Scoville Bonham
                                                           222 West 5th St.
                                                           London, Kentucky 40741



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       (3)     The Warning Order Attorneys shall make diligent efforts to inform the

defendants, by mail, concerning the pendency and nature of this mortgage foreclosure action,

and must report the results of their efforts within 60 days from the date of entry of this Order.

The Warning Order Attorneys shall provide a copy of their reports to counsel of record for the

United States. In connection with their efforts to notify the defendants, the Warning Order

Attorneys are authorized to incur reasonable expenses such as postage, expenses attendant to

public records, searches, expenses attendant to on-line locator services, and telephone charges.

The Warning Order Attorneys are not authorized to incur, without leave of Court,

extraordinary expenses such as newspaper advertisement charges and private investigator fees.

       (4)     If either Warning Order Attorney cannot inform the defendant concerning this

action, she shall so report to the Court and shall then make a defense by answer if the Warning

Order Attorney is able to do so. If unable to make a defense, the Warning Order Attorney shall

so report.

       (5)     The plaintiff’s cause of action is for the foreclosure of the plaintiff’s mortgage

lien(s) on the subject real property. The plaintiff’s motion for entry of this Order sets forth the

property’s address and the defendant’s address last known to the plaintiff. Upon receipt of its

copy of this Order from the Court Clerk, counsel for the plaintiff shall cause to be delivered,

by mail or by electronic means, to the Warning Order Attorney’s office the following: a copy

of the Complaint, a copy of the plaintiff’s motion for this order, and a copy of this Order.

       (6)     At the time of the filing of the report, the Warning Order Attorney may also file

a motion and affidavit for payment of the Warning Order Attorney’s fee and expenses. The

Court will award the Warning Order Attorney the customary fee for such services as well as

reasonable expenses. The Warning Order Attorney’s fee and expenses shall be taxed as costs.
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       (7)    The United States and the Warning Order Attorneys are referred to the Notice

filed on this date regarding the timing of payment of services provided by the Warning Order

Attorneys.

       This 18th day of June, 2018.




 

 

 

 

 

 




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